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                           UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MAINE

JASON PALMITER,

              Plaintiff,

       vs.                                                Civil No. 17-0093-DBH

CUMBERLAND COUNTY, KEVIN JOYCE,
JOHN DOE ONE, JOHN DOE TWO, JANE
DOE,

              Defendants




     ANSWER, AFFIRMATIVE DEFENSES AND JURY TRIAL DEMAND

       Defendants Cumberland County and Kevin Joyce, by and through counsel,

hereby respond to the Plaintiff’s Complaint as follows:

                                  Nature of the Action

       The allegations contained in this paragraph of the Plaintiff’s Complaint do not

constitute assertions of fact to which a response is required. Alternatively, the

Defendants are without sufficient information or knowledge to form a belief as to the

truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, deny same.

                                          Parties

       1.     The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Complaint and, accordingly, deny same.

       2.     The Defendants admit the allegations contained in this paragraph of the

Plaintiff’s Complaint.
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       3.     The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Complaint and, accordingly, deny same.

       4.     The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Complaint and, accordingly, deny same.

       5.     The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Complaint and, accordingly, deny same.

       6.     The Defendants admit the allegations contained in this paragraph of the

Plaintiff’s Complaint.

                              Subject Matter Jurisdiction

       7.     The allegations contained in this paragraph of the Plaintiff’s Complaint

constitute assertions of law to which no response is required. Alternatively, the

Defendants are without sufficient information or knowledge to form a belief as to the

truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, deny same.

       8.     The allegations contained in this paragraph of the Plaintiff’s Complaint

constitute assertions of law to which no response is required. Alternatively, the

Defendants are without sufficient information or knowledge to form a belief as to the

truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, deny same.




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       9.     The allegations contained in this paragraph of the Plaintiff’s Complaint

constitute assertions of law to which no response is required. Alternatively, the

Defendants are without sufficient information or knowledge to form a belief as to the

truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, deny same.

                                  Personal Jurisdiction

       10.    The allegations contained in this paragraph of the Plaintiff’s Complaint

constitute assertions of law to which no response is required. Alternatively, the

Defendants are without sufficient information or knowledge to form a belief as to the

truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, deny same.

                                              Venue

       11.    The allegations contained in this paragraph of the Plaintiff’s Complaint

constitute assertions of law to which no response is required. Alternatively, the

Defendants are without sufficient information or knowledge to form a belief as to the

truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, deny same.

                             Facts Common to all Counts

       12.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Complaint and, accordingly, deny same.




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       13.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Complaint and, accordingly, deny same.

       14.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Complaint and, accordingly, deny same.

       15.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Complaint and, accordingly, deny same.

       16.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Complaint and, accordingly, deny same.

       17.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Complaint and, accordingly, deny same.

       18.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Complaint and, accordingly, deny same.

       19.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Complaint and, accordingly, deny same.




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       20.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Complaint and, accordingly, deny same.

       21.    The Defendants admit the Plaintiff was escorted to a holding cell. The

Defendants deny the remaining allegations contained in this paragraph of the Plaintiff’s

Complaint.

       22.    The Defendants deny the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       23.    The Defendants deny the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       24.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Complaint and, accordingly, deny same.

       25.    The Defendants deny the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       26.    The Defendants admit the Plaintiff was seen by a nurse after he was

secured in the holding cell. The Defendants are without sufficient information or

knowledge to form a belief as to the truth of the remaining allegations contained in this

paragraph of Plaintiff’s Complaint and, accordingly, deny same.

       27.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Complaint and, accordingly, deny same.




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       28.    The Defendants deny the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       29.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Complaint and, accordingly, deny same.

       30.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Complaint and, accordingly, deny same.

       31.    The allegations contained in this paragraph of the Plaintiff’s Complaint

purport to characterize the contents of a written document that speaks for itself;

therefore, no response is required. Alternatively, the Defendants are without sufficient

information or knowledge to form a belief as to the truth of the allegations contained in

this paragraph of Plaintiff’s Complaint and, accordingly, deny same.

       32.    The allegations contained in this paragraph of the Plaintiff’s Complaint

purport to characterize the contents of a written document that speaks for itself;

therefore, no response is required. Alternatively, the Defendants are without sufficient

information or knowledge to form a belief as to the truth of the allegations contained in

this paragraph of Plaintiff’s Complaint and, accordingly, deny same.

       33.    The allegations contained in this paragraph of the Plaintiff’s Complaint

purport to characterize the contents of a written document that speaks for itself;

therefore, no response is required. Alternatively, the Defendants are without sufficient

information or knowledge to form a belief as to the truth of the allegations contained in

this paragraph of Plaintiff’s Complaint and, accordingly, deny same.



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       34.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Complaint and, accordingly, deny same.

       35.    The Defendants deny the allegations contained in this paragraph of the

Plaintiff’s Complaint.

COUNT I: 42 U.S.C. § 1983 VIOLATION AGAINST CUMBERLAND COUNTY
 JAIL CORRECTIONS OFFICERS, CUMBERLAND COUNTY, AND KEVIN
                    JOYCE FOR EXCESSIVE FORCE

       36.    The Defendants repeat their responses to the preceding paragraphs of

Plaintiff’s Complaint.

       37.    The Defendants deny the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       38.    The Defendants deny the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       39.    The Defendants deny the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       40.    The Defendants deny the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       41.    The allegations contained in this paragraph of the Plaintiff’s Complaint

constitute assertions of law to which no response is required. Alternatively, the

Defendants are without sufficient information or knowledge to form a belief as to the

truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, deny same.




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       42.    The Defendants deny the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       43.    The Defendants deny the allegations contained in this paragraph of the

Plaintiff’s Complaint.

 COUNT II: 42 U.S.C. § 1983 SUPERVISORY VIOLATION AGAINST KEVIN
                     JOYCE FOR EXCESSIVE FORCE

       44.    The Defendants repeat their responses to the preceding paragraphs of

Plaintiff’s Complaint.

       45.    The Defendants admit Kevin Joyce was Sheriff of Cumberland County on

March 25, 2011. The remaining allegations contained in this paragraph of the Plaintiff’s

Complaint constitute assertions of law to which no response is required. Alternatively,

the Defendants are without sufficient information or knowledge to form a belief as to

the truth of the remaining allegations contained in this paragraph of Plaintiff’s

Complaint and, accordingly, deny same.

       46.    The Defendants deny the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       47.    The Defendants deny the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       48.    The Defendants deny the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       49.    The Defendants deny the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       50.    The Defendants deny the allegations contained in this paragraph of the

Plaintiff’s Complaint.

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   COUNT III: 42 U.S.C. § 1983 VIOLATION AGAINST CUMBERLAND
 COUNTY JAIL CORRECTIONS OFFICERS, CUMBERLAND COUNTY, AND
          KEVIN JOYCE FOR DENIAL OF MEDICAL CARE

       51.     The Defendants repeat their responses to the preceding paragraphs of

Plaintiff’s Complaint.

       52.     The Defendants deny the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       53.     The Defendants deny the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       54.     The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Complaint and, accordingly, deny same.

       55.     The Defendants deny the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       56.     The Defendants deny the allegations contained in this paragraph of the

Plaintiff’s Complaint.

    Count IV: Common Law State tort of Battery v. Defendant Officers,
   Defendant Corrections Officers, Cumberland County, and Kevin Joyce

       57.     The Defendants repeat their responses to the preceding paragraphs of

Plaintiff’s Complaint.

       58.     The Defendants deny the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       59.     The Defendants deny the Plaintiff was “assaulted.” The remaining allegations

contained in this paragraph of the Plaintiff’s Complaint constitute assertions of law to which no

response is required. Alternatively, the Defendants are without sufficient information or


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knowledge to form a belief as to the truth of the remaining allegations contained in this

paragraph of Plaintiff’s Complaint and, accordingly, deny same.

       60.     The Defendants deny the Plaintiff was “assaulted.” The Defendants are

without sufficient information or knowledge to form a belief as to the truth of the

remaining allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, deny same.

 Count V: 42 U.S.C. § 1983 VIOLATION AGAINST CUMBERLAND COUNTY
  JAIL CORRECTIONS OFFICERS, CUMBERLAND COUNTY, AND KEVIN
          JOYCE FOR FAILURE TO PROTECT FROM VIOLENCE

       61.     The Defendants repeat their responses to the preceding paragraphs of

Plaintiff’s Complaint.

       62.     The Defendants deny the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       63.     The Defendants deny the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       64.     The Defendants deny the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       65.     The Defendants deny the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       66.     The Defendants deny the allegations contained in this paragraph of the

Plaintiff’s Complaint.

                                AFFIRMATIVE DEFENSES

       1.      The Defendants have at all times acted in good faith and without

knowledge that their conduct violated any clearly established constitutional or statutory

rights of the Plaintiff.

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       2.     The Defendants’ conduct did not violate any clearly established

constitutional or statutory rights of the Plaintiff.

       3.     No reasonable person would have known that the Defendants’ conduct

violated any clearly established constitutional or statutory rights of the Plaintiff.

       4.     To the extent that the Plaintiff endeavors to make a state claim grounded

in tort, the claim is barred by Plaintiff's failure to comply with the notice provisions of

the Maine Tort Claims Act, 14 M.R.S.A. § 8107.

       5.     To the extent that the Plaintiff endeavors to make a state claim grounded

in tort, the claim is barred by immunity provisions provided to the Defendants by the

Maine Tort Claims Act, including but not limited to 14 M.R.S.A. § 8103, 8104-B, and

8111(1)(C), (D) and (E).

       6.     The Plaintiff’s claims are barred, in whole or in part, by the applicable

statutes of limitations.

       7.     The Plaintiff’s recoverable damages for tort claims are capped by the

provisions of the Maine Tort Claims Act.

       8.     To the extent that the Plaintiff’s Complaint seeks to impose liability on the

Defendants in their representative capacity, the Complaint fails to state a claim upon

which relief may be granted.

       9.     The Plaintiff’s own conduct was the sole or a contributing cause of his

injuries.

       10.    The Plaintiff’s Complaint, in whole or in part, fails to state a claim upon

which relief may be granted.




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       11.      The Plaintiff’s claims are barred for the reason that the Defendants are not

liable under a theory of respondeat superior for the actions of their agents.

       12.      The Plaintiff’s claims are barred for the reason that the Defendants’

actions do not constitute deliberate indifference or conduct which is shocking to the

conscience.

       13.      The Plaintiff’s claims are barred for the reason that the allegations in the

Complaint allege simple negligence and the conduct complained of is not the type

contemplated under 42 U.S.C. § 1983.

       14.      The Plaintiff’s claims are barred, in whole or in part, by the doctrine of

immunity.

       15.      The Plaintiff’s claims are barred, in whole or in part, by the doctrine of

qualified immunity.

       16.      The Plaintiff’s claims are barred, in whole or in part, by the doctrine of

privilege.

       17.      To the extent that the Plaintiff seeks injunctive or declaratory relief, the

Plaintiff has no standing.

       18.      The Plaintiff has adequate remedies under State law, and therefore no

action lies under 42 U.S.C. §1983 in the Maine Constitution or the United States

Constitution.

       19.      The Defendants reserve the right to demonstrate that the Plaintiff has

failed to mitigate damages.




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       20.    To the extent the Plaintiff’s alleged injuries result from conditions that

pre-existed the events alleged in the Complaint, the Defendants cannot be held liable for

the alleged damages associated with those alleged injuries.

       21.    The County cannot be held liable for punitive damages as a matter of law.

                                       JURY DEMAND

       Pursuant to Local Rule 38 and Federal Rule of Civil Procedure 38(b), the

Defendants request a trial by jury on all claims and issues properly tried to a jury.

       WHEREFORE, Defendants Cumberland County and Kevin Joyce demand

judgment in their favor with regard to all claims of the Plaintiff’s Complaint, including

an award of costs and attorneys’ fees, if appropriate, and such other relief as the Court

deems just.

       Dated at Portland, Maine this 8th day of June, 2017.

                                     Attorneys for Defendants Cumberland County and
                                     Kevin Joyce
                                     MONAGHAN LEAHY, LLP
                                     95 Exchange Street, P.O. Box 7046
                                     Portland, ME 04112-7046
                                     (207) 774-3906

                            BY:      /s/ John J. Wall, III
                                     John J. Wall, III




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                            CERTIFICATE OF SERVICE

       I hereby certify that on June 8, 2017, I electronically filed Answer, Affirmative
Defenses and Jury Trial Demand using the CM/ECF system, which will provide
notice to me and the following other counsel of record: Robert Andrews, Esq.
(rob.andrews.esq@gmail.com).

      Dated at Portland, Maine this 8th day of June, 2017.

                                   Attorneys for Defendants Cumberland County and
                                   Kevin Joyce
                                   MONAGHAN LEAHY, LLP
                                   95 Exchange Street, P.O. Box 7046
                                   Portland, ME 04112-7046
                                   (207) 774-3906

                           BY:     /s/ John J. Wall, III
                                   John J. Wall, III




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